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February 16, 2023

Monica Ponce-Agredano
Honorable Vincent Briccetti Legal Assistant
United States District Court — SDNY
300 Quarropas Street
White Plains, Ny 10601

Re: Mora v. Unified Court System, et al., 22 ev10322 (VB)
Dear Judge Briccetti,

I represent plaintiff in this case. Presently pending before the Court is plaintiff s
application for a preliminary injunction to allow him to resume the full panoply of his duties as a
City Court Judge in person in the City of Poughkeepsie.

I am pleased to inform the court that yesterday, counsel for the Unified Court System
advised me that that his client had promulgated a Memorandum which altered state policy and
that today I received confirmation that the orders restricting Judge Mora have been vacated and
recalled welcoming him back to in court proceedings tomorrow. Please see the attached
documents.

Accordingly, my application for a preliminary injunction is moot and hereby withdrawn.

I note that the balance of the case proceeds and I believe defendants should answer or
move promptly.

 

cc: Mr. Berg, for defendants
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RIEW YORK STATE

Unified Court System

 

OFFICE OF COURT ADMINISTRATION

 

TAMIKO A. AMAKER NANCY J. BARRY, ESQ.
ACTING CHIEF ADMINISTRATIVE JUDGE CHIEF OF OPERATIONS

JUSTIN A. BARRY, ESQ,
CHIEF OF ADMINISTRATION

MEMORANDUM

February 15, 2023

To: All UCS Judges, Justices and Non-Judicial Personnel
From: Nancy B

Justin Barry:
Re: COVID-19 Vaccination and Testing Mandate Discontinued

 

Effective February 17, 2023, COVID-19 vaccinations will be optional for all current,
new, and prospective judges and employees of the Unified Court System. Likewise, weekly
testing for unvaccinated judges and employees who received exemptions to the vaccination
requirement will be discontinued.

The UCS COVID-19 Safety and Operational Protocols will continue to require
isolation and quarantine in accordance with Centers for Disease Control and Prevention
guidelines, and masks must still be worn by individuals returning after a COVID-19 infection
or who have been in close contact with someone who has tested positive for COVID-19 (see
COVID-19 Safety and Operational Protocols for details). Reporting of a COVID-19 diagnosis
will also continue to be required so that individuals in close contact can take appropriate
precautions.

Simultaneous with this change in policy, employees seeking to have COVID-qualifying
absences covered by (paid) Leave for Quarantine will be required to submit documentation
from a healthcare provider or public health official, directing that the employee quarantine or
isolate for “x” number of days, along with their application. Copies of positive test results,
alone, will no longer be accepted for purposes of this paid leave benefit.

As an incentive to stay current on the recommended COVID booster regimen, the UCS
will continue to offer 3’ hours of compensatory time to employees submitting proof of each
COVID booster vaccination received outside of work hours.

As supplies last, the Department of Public Safety will continue to issue personal
protective equipment to those districts requesting them.

Starting February 17, 2023, former employees terminated for failure to comply with the
vaccination mandate may submit a request for reinstatement to reapply for their former
positions. These requests will be reviewed and decided according to existing policies and rules.

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Background

On January 30, 2023, the Biden administration announced that it would end the COVID-
19 national emergency in May 2023, indicating that the reason for the months-long notice was to
allow for an orderly transition out of the emergency in healthcare settings. This announcement
comports with the latest CDC guidance stating that high levels of vaccine- and infection-induced
immunity and the availability of effective treatments and prevention tools have substantially
reduced the risk of medically significant illness and associated hospitalization and death. The
CDC also indicates that effective therapeutics are now available for those infected persons at
highest risk for severe illness.

Within the court system, 95% of all judges and staff have been fully vaccinated for
COVID-19. This incredible accomplishment allowed our courts to continue functioning
throughout the worst days of the pandemic and protected our judges and employees and all those
who work in our busy buildings, as well as those who came to our courts seeking justice. Since
the outset of the pandemic, we have been committed to following the guidance of public health
officials and modifying our policies, as necessary. With the vast majority of judges and
employees vaccinated and the tools readily available to protect from serious illness, the UCS can
now adjust our response, although we continue to encourage everyone that works and visits our
buildings to follow vaccination/booster recommendations, wear masks when appropriate, test
when needed, and stay home when sick.

We take this opportunity to express our deepest gratitude to our judges and employees
who kept our vital systems operating over the past three years. Your work brought justice to New
Yorkers despite extraordinarily challenging times, and your commitment to safety undoubtedly
stanched the spread of the virus and saved lives.
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9-ADMJ-02-16-23
ADMINISTRATIVE ORDER
NINTH JUDICIAL DISTRICT
Pursuant to the authority vested in me, and consistent with the Memorandum dated

February 15, 2023 issued by the Office of Court Administration of the New York State Unified
Court System, and by reason of the discontinuance of the COVID-19 Vaccination and Testing
Mandate, effective February 17, 2023, 1 hereby vacate Administrative Order 9-ADMJ-1-3 1-22,
effective February 17, 2023. It is further ordered that effective February 17, 2023, all
administrative directives issued on or about January 3, 2022 through January 5, 2022 to Hon.
Frank M. Mora, Judge of the Poughkeepsie City Court are hereby vacated and recalled.

Dated: February 16, 2023
White Plains, New York

 

 

Administrative Judge
Ninth Judicial District

Distribution:

Hon. Tamiko Amaker, Acting Chief Administrative Judge

Hon. Norman St. George, Deputy Chief Administrative Judge, Courts Outside NYC
Hon. Frank M. Mora

Lori Conners, Chief Clerk
